UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE

Blount Pride, Inc., and Matthew Lovegood

Plaintiff,
Vv. Case No.
Ryan K. Desmond, et al.

1:23-cv-00196

Defendant.

MOTION FOR ADMISSION PRO HAC VICE

The undersigned, counsel for ,
moves for admission to appear in this action pro hac vice.
Pursuant to E.D. Tenn. L.R. 83.5(b)(1)(C). FILING FEE = $90.00

fe] I am a member in good standing of the highest court of the following state,
territory or the District of Columbia (list ALL states):

AND | am a member in good standing of another U.S. District Court. A
certificate of good standing from the DISTRICT court is attached. ).

Pursuant to E.D. Tenn. L.R. 83.5(b)(1)(C). NO FILING FEE REQUIRED.

An application for my admission to practice in this Court is currently pending.

I declare under penalty of perjury that the foregoing is true and correct.

cS
(Signature—hand signed)

Name: Adam K. Mortara

Firm: Lawfair LLC
Address: 49 Burton Hills Blvd. Ste 200 Nashville TN 37215

Email address: mortara@lawfairllc.com

Once your motion is granted, you must register as an E-Filer with this Court. For
instructions visit the Court's website.

Case 3:23-cv-00316-JRG-JEM Document 20 Filed 09/01/23 Page1of1 PagelD #: 478
